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                                   1                                      UNITED STATES DISTRICT COURT

                                   2                                   NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4           GRANT HOUSE, et al.               ,           Case No. 4:20-CV-03919 CW
                                                          Plaintiff(s),
                                   5
                                                                                             APPLICATION FOR ADMISSION OF
                                                   v.                                        ATTORNEY PRO HAC VICE
                                   6
                                                                                             (CIVIL LOCAL RULE 11-3)
                                   7           NCAA, et al.                      ,
                                                          Defendant(s).
                                   8

                                   9

                                  10            I, Ryan Eitzmann               , an active member in good standing of the bar of

                                  11     Oklahoma                              , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: Houston Christian University       in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Jennifer S. Coleman               , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15                                                                     SBN: 213210
                                       within the State of California. Local co-counsel’s bar number is: _________________.
                                       National Litigation Law Group                        Spencer Fane, LLP.
                                  16   401 West Broadway Avenue                             225 West Santa Clara St., Suite 1500
                                       Enid, Oklahoma 73701                                 San Jose, CA 95113
                                  17     MY ADDRESS OF RECORD                                LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18    (202) 413-1855                                       (408) 286-5100
                                         MY TELEPHONE # OF RECORD                             LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                        reitzmann@nationlit.com                              jcoleman@spencerfane.com
                                  20     MY EMAIL ADDRESS OF RECORD                           LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22            I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 22556                .
                                  24            A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26                                                                       0
                                                I have been granted pro hac vice admission by the Court _______ times in the 12 months
                                  27   preceding this application.
                                  28
                                           Case 4:20-cv-03919-CW Document 445 Filed 07/22/24 Page 2 of 2




                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: June 27, 2024                                          Ryan Eitzmann
                                                                                                     APPLICANT
                                   5

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                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                             FOR ADMISSION OF ATTORNEY PRO HAC VICE

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                                  11            IT IS HEREBY ORDERED THAT the application of Ryan Eitzmann                           is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                       Dated:        7/22/2024
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                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
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                                       Updated 11/2021                                   2
